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 5
                      IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                              EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,   )                  CASE NO. 1:10-CR-00305-LJO
                                 )
 9        Plaintiff,             )
                                 )                  STIPULATION AND
10      v.                       )                  ORDER TO ADVANCE
                                 )                  MATTER ON
11   JESUS RODRIGUEZ SALCIDO,    )                  CALENDAR FOR SENTENCING
                                 )
12         Defendant.            )
     ____________________________)
13
              The parties hereto, by and through their respective attorneys, stipulate
14
     and agree that the matter currently on calendar for sentencing on October 17,
15
     2011, be advanced to October 7, 2011 at 9:00 a.m. for sentencing.
16
              This request is being made to expedite final resolution of the case in light
17
     of the absence of any formal objections.
18
19   DATED: September 20, 2011              /s/ Karen Escobar
                                            KAREN ESCOBAR
20                                          Assistant United States Attorney
                                            This was agreed to by Ms. Escobar
21                                          Via Email on September 19, 2011
22
     DATED: September 20, 2011              /s/ Roger K. Litman
23                                          ROGER K. LITMAN
                                            Attorney for Defendant
24                                          JESUS RODRIGUEZ-SALCIDO
25
     IT IS SO ORDERED.
26
     Dated:     September 21, 2011              /s/ Lawrence J. O'Neill
27   b9ed48                                 UNITED STATES DISTRICT JUDGE
28

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